






In The



Court of Appeals



Ninth District of Texas at Beaumont



____________________



NO. 09-03-533 CR


____________________



GREG RAY BURNAMAN, Appellant



V.



THE STATE OF TEXAS, Appellee






On Appeal from the Criminal District Court


Jefferson County, Texas


Trial Cause No. 76493






MEMORANDUM OPINION (1)


	Greg Ray Burnaman was convicted and sentenced on an indictment for the felony
theft offense of driving while intoxicated.  Burnaman filed a notice of appeal on November
12, 2003.  The trial court entered a certification of the defendant's right to appeal in which
the court certified that this is a plea-bargain case and the defendant has no right of appeal. 
See Tex. R. App. P. 25.2(a)(2).  The trial court's certification has been provided to the
Court of Appeals by the district clerk.

	On November 19, 2003, we notified the parties that the appeal would be dismissed
unless an amended certification was filed within thirty days of the date of the notice and
made a part of the appellate record.  See Tex. R. App. P. 37.1.  The record has not been
supplemented with an amended certification.  Because a certification that shows the
defendant has the right of appeal has not been made part of the record, the appeal must be
dismissed.  See Tex. R. App. P. 25.2(d).

	Accordingly, we dismiss the appeal for want of jurisdiction.

	APPEAL DISMISSED.

								PER CURIAM


Opinion Delivered January 8, 2004

Do Not Publish

Before McKeithen, C.J., Burgess and Gaultney, JJ.
1. Tex. R. App. P. 47.4.


